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Attorneys for AEG Facilities, Inc.

FILED
JUN ]_ 8 2003

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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

In Re

BDB MANAGEMENT III, LLC

 

 

 

 

CASE NO. 08-31002
Chapter ll

REQUEST FOR SPECIAL NOTICE AND
INCLUSION ON MASTER MAILING LIST

PLEASE TAKE NOTICE that Holme Roberts & Owen, on behalf of AEG Facilities, Inc.

(“AEG”), a party in interest, in the above-captioned Chapter ll case, hereby requests that all notices

given or required to be given in this case to creditors, any creditors, committee, or any other party in

interest (Bankruptcy Rules 2002(a), (b), (c) and (f) and Bankruptcy Rule 9007), Whether sent by the

Court, the debtor, any trustee, or any other party in this case, and all papers served or required to be

served in connection With any such matter be served on AEG and Holme Roberts & Owen, attorneys

for AEG, at the address listed below and that, pursuant to Bankruptcy rules 2002(g) and 9007, the

following be added to the Court’s master mailing list:

 

Request for Special Notice
In re BDB MANAGEMENT lll, LLC
Case No. 08-31002

#38304 vl

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Meryl Macklin, Esq.

Holme Roberts & Owen, LLP
560 Mission Street, 25th Floor
San Francisco, CA 94105

PLEASE TAKE FURTHER NOTICE that the foregoing request includes all notices and
papers referred to in the Bankruptcy Rules and additionally includes, without limitation, notices of
any application, complaint dismissal, hearing, motion, pleading, plan, disclosure statement or
request, formal or informal, whether conveyed by mail, telephone, facsimile or otherwise.

Neither this Notice of Appearance nor any subsequent appearance, pleading, claim or suit is
intended to waive any rights including: (i) AEG’s right to have fmal orders in non-core matters
entered only after de novo review by a district court judge; (ii) AEG’s right to a jury trial in any
proceeding; (iii) AEG’s right to have the reference withdrawn by the District Court in any matter
subject to mandatory or discretionary withdrawal or abstention; or (iv) any other rights, claims,
actions, defenses, reclamations, setoffs, or recoupments to which AEG is or may be entitled under
any agreements, in law or in equity, all of which rights, claims, actions, defenses, reclamations,
setoffs, and recoupments AEG expressly reserves. AEG does not, by filing this Request, submit to

the jurisdiction of this Court, or any other Court, in this case.

Dated: C'; "l § ' 03 HOLME ROBERTS & OWEN LLP

    

By:

 

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to eys for AEG Facilities, lnc.

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Request for Special Notice
ln re BDB MANAGEMENT III, LLC

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PROOF OF SERVICE
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STATE OF CALIFORNIA, COUNTY OF SAN FRANCISCO:

I am employed in the County of San Francisco, State of California. l am over the age of 18 and not a
party to the within action. My business address is 560 Mission Street, 25th floor, San Francisco,

California 94105-2994.

On June ll, 2008, l served the foregoing document described as REQUEST FOR
SPECIAL NOTICE AND INCLUSION ON MASTER MAILING LIST on the interested party

in this action by placing a true and correct copy thereof enclosed in a sealed envelope addressed as

follows:

 

Judith Whitman Attorneyfor Debtor, BDB Management, LLC

Diemer, Whitman and Cardosi

75 E. Santa Clara St.

San Jose, CA 95113

(408) 971-6270

Email: jwhitman@diemerwhitman.c

 

Michael St. James Atlomey for lnterested Party William James
St. James Law “Boots ” De/ Biaggio, 111

155 Montgomery St. #1004
San Francisco, CA 94104

 

 

U.S. Trustee U.S. Trustee

Offlce of the U.S. Trustee

235 Pine St

Suite 700

San Francisco, CA 94104

G. Larry Engel Attorneysfor Credl`tor Sand Hill Ventures, LLC,
Vincent J. Novak Power Play Real Estate Management, LLC and
Morrison & Foerster LLP First Pitch, LLC

425 Market Street
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PROOF OF SERVICE
In re BDB Management III, LLC.

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le BY MAIL: l am “readily familiar” with the firm’s practice of collection and
processing correspondence for mailing. Under that practice it would be deposited with U.S. postal
service on that same day with postage thereon fully prepaid at San Francisco, California in the
ordinary course of business. 1 am aware that on motion of the party served, service is presumed
invalid if postal cancellation date or postage meter date is more than one day after date of deposit for
mailing in affidavit

I:I BY PERSONAL SERVICE: I caused the above-mentioned document to be
personally served to the offices of the addressee.

I:l BY FACSIMILE: I communicated such document via facsimile to the
addressee as indicated on the attached service list.

l:l BY FEDERAL EXPRESS: I caused said document to be sent via Federal
Express to the addressee as indicated on the attached service list.

Executed on June 11, 2008, at San Francisco, California

}14' (FEDERAL) l declare that 1 arn employed in the office of a member of the bar

of this court at whose direction the service was made.

 

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